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                                UNITED STATES DISTRICT COURT
                                    DISTRICT OF COLUMBIA


NA’EEM BETZ,

                Plaintiff,
                                                                 Case No. 1:21-CV-01080-ABJ
                         v.
                                                                 Honorable Judge Amy B. Jackson
MYCOMPUTERCAREER, INC.,

               Defendant.


                               PROPOSED SCHEDULING ORDER

          Attorneys of record (and pro se parties) shall read this Scheduling Order in its entirety

upon receipt and are responsible for ensuring that members of the attorney’s staff are also

familiar with and follow these procedures and the Local Civil Rules. The failure of a party or

attorney to comply with the provisions of this Order or the Local Civil Rules will be viewed with

disfavor and may result in the imposition of sanctions. The parties are advised that requests for

extensions of time will also be viewed with disfavor and will not be granted as a matter of

course.

          Pursuant to the joint report filed according to Local Civil Rule 16.3 and Federal Rule of

Civil Procedure 26, it is hereby ORDERED that:

          Initial disclosures pursuant to Federal Rule of Civil Procedure 26(a)(1) shall be made by

no later than July 31, 2021.

          Any amendments to the pleadings, including the joining of parties, shall be made by no

later than August 30, 2021.

          Fact discovery shall be completed by no later than December 7, 2021. Each party is

limited to 25 interrogatories and 2 depositions. Leave to serve additional interrogatories may be

granted to the extent consistent with Rule 26(b)(2).
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         The parties’ expert disclosures pursuant to Federal Rule of Civil Procedure 26(a)(2), if

any, shall be made by no later than January 7, 2022. Any rebuttal experts shall be disclosed by

no later than February 7, 2022. Expert discovery shall be completed by no later than March 7,

2022.

         These dates are flexible. Accordingly, the parties are directed to ensure that all discovery

requests are served in sufficient time to allow a response consistent with the timing set forth in

the Federal Rules of Civil Procedure and the Local Civil Rules unless otherwise stipulated by the

parties. All other discovery procedures agreed to by the parties in their joint report are

incorporated by reference herein.

         If, at any point in time, the parties desire to have a mediator from the District Court’s

mediation program appointed to assist with settlement discussions, the parties shall electronically

file a motion captioned “Joint Motion for Appointment of a Mediator.”

         Pursuant to Local Civil Rule 7(m), counsel shall confer in good faith in an effort to

resolve any discovery disputes before bringing the disputes to the Court. See Local Civ. R. 7(m)

(“Before filing any nondispositive motion in a civil action, counsel shall discuss the anticipated

motion with opposing counsel, either in person or by telephone, in a good faith effort to

determine whether there is any opposition to the relief sought and, if there is opposition, to

narrow the areas of disagreement. A party shall include in its motion a statement that the required

discussion occurred, and a statement as to whether the motion is opposed.”).

         Any motion that does not comply with Local Civil Rule 7(m) may be, sua sponte, denied

by the Court.
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       Counsel are hereby notified that the party that does not prevail in a discovery dispute

shall be ordered to pay the costs involved, including reasonable attorney’s fees, absent a

determination by the Court that such an award would be unjust.

       All dates in this Order are firm and may not be altered by the parties, without seeking

leave of the Court. Any request for an extension of time shall be made by filing a motion and

shall state whether any prior extensions of time have been granted and whether the extension will

impact any other scheduled dates. A motion for extension of time that is filed on the date that a

filing is due will be viewed with extreme disfavor.

       Counsel are instructed to read the D.C. Circuit’s opinion in Jackson v. Finnegan,

Henderson, Farabow, Garrett & Dunner, et al., 101 F.3d 145, 152 (D.C. Cir. 1996) (“In

implementing a scheduling order at the beginning of a case and insisting on its reasonable

observance during litigation, the district court acted in a manner consistent with the Supreme

Court’s and Congress’ concern for the fair and efficient administration of justice.”).

       Counsel are also directed to review the D.C. Bar Voluntary Standards for Civility in

Professional Conduct, located in Appendix B to the Local Civil Rules. The Court expects counsel

and pro se parties to conduct themselves in conformance with these standards.

       It is FURTHER ORDERED that the Clerk of the Court is not required to provide hard

copies of any pleading filed electronically in the above captioned case to supernumerary

attorneys of a law firm who have not entered their appearance on the electronic case filing

system (“ECF”) and registered for a password granting them access to electronic dockets.
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SO ORDERED.

                                       ____________________________
                                       Hon. Amy Berman Jackson
                                       United States District Judge
